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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )            Case No. 8:14CR287
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )
                                             )                  ORDER
CHELSEY SKEAHAN,                             )
                                             )
                     Defendant.              )

       This case came before the Court on a Petition for Action on Conditions of Pretrial
Release (#33). On January 6, 2015 Pretrial Services Officer Mindy Bare submitted a
Petition for Action on Conditions of Pretrial Release alleging that Defendant had violated
conditions of release as follows:
       1. The defendant shall not commit any offense in violation of federal, state
       or local law while on release in this case.

       7. The defendant shall:
               (V) Not be with, associate with, or communicate with persons known
       or suspected to be or to have been involved in drug use or trafficking or
       weapons possession or weapons trafficking without the prior approval of the
       supervising officer or the Court ( ) except immediate family members; and/or
       ( ) as required by a treatment regimen.

       Pretrial Services has been notified Chelsey Skeahan has incurred new
       criminal charges including Flight to Avoid Arrest and Willful Reckless Driving.
       The defendant was also allegedly in the company of known drug users at the
       time of the incident.

A warrant for Defendant’s arrest was issued.
       Defendant appeared before the undersigned magistrate on January 21, 2015. Justin
Cook represented Defendant. David Wear, Assistant United States Attorney, represented
the Government. After being advised of the nature of the allegations, rights, and the
consequences if the allegations were found to be true, Defendant admitted the allegations.
The Court took judicial notice of the Memorandum of Pretrial Services Officer Mindy Bare
dated January 6, 2015. The Court finds the allegations set out in the petition are generally
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true and finds the Defendant violated the conditions of release.
       After providing both parties an opportunity for allocution as to disposition and
considering the report of Pretrial Services, I find the Order Setting Conditions of Release
(#12) should be revoked. I find Defendant is unlikely to abide by conditions of release. I
find that there is no condition or combinations of conditions that would reasonably assure
Defendant’s presence for further proceedings, or the safety of the community if Defendant
were to be released upon conditions.
       IT IS ORDERED:
       1. The Petition for Action on Conditions of Pretrial Release (#33) is granted;
       2. The August 25, 2014 Order Setting Conditions of Release (#12) is hereby
revoked; and
       3. Defendant is committed to the custody of the Attorney General or his designated
representative for confinement in a correctional facility separate, to the extent practicable,
from persons awaiting or serving sentence or being held in custody pending appeal.
Defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel. On order of the Court of the United States or on the request of an attorney for the
Government, the person in charge of the correctional facility shall deliver Defendant to the
United States Marshal for purpose of an appearance in connection with a court proceeding.
       Dated this 21st day of January 2015.

                                           BY THE COURT:


                                           s/ F.A. Gossett, III
                                           United States Magistrate Judge
